

People v Johnson (2025 NY Slip Op 02044)





People v Johnson


2025 NY Slip Op 02044


Decided on April 08, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 08, 2025

Before: Moulton, J.P., González, Scarpulla, Higgitt, Michael, JJ. 


Ind. No. 295/19|Appeal No. 4063|Case No. 2020-01628|

[*1]The People of the State of New York, Respondent,
vTaquan Johnson, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Jonathan Garelick of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (David E. A. Crowley of counsel), for respondent.



Judgment, Supreme Court, New York County (Ann Scherzer, J.), rendered February 3, 2020, convicting defendant, upon his plea of guilty, of attempted assault in the first degree and conspiracy in the third degree, and sentencing him, as a second felony offender, to an aggregate term of six years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
We perceive no basis for reducing the sentence.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see e.g. People v Abreu, 211 AD3d 410 [1st Dept 2022]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 8, 2025








